9/26/24, 4:00 Case
              PM   3:23-cv-00636            Document 134-15       Filed
                                                      Haslam Law Firm LLC 09/26/24          Page
                                                                          Mail - Re: Hudson v. Racer, et1al.of 9 PageID #: 2232



                                                                                                Tyler Haslam <tyler@haslamlawfirm.com>



  Re: Hudson v. Racer, et al.
  1 message

  Tyler Haslam <tyler@haslamlawfirm.com>                                                   Thu, Sep 26, 2024 at 7:17 AM
  To: "Stebbins, James C." <jstebbins@flahertylegal.com>
  Cc: Kerry Nessel <nessel@comcast.net>, "Wendy E. Greve" <wgreve@pffwv.com>, "Burdette, Danica N."
  <dburdette@flahertylegal.com>, Luke Mathis <lmathis538@gmail.com>, Charlotte Dorsey <charlotte@haslamlawfirm.com>,
  Ben Vanston <bvanston@pffwv.com>, Brittany Scott <bscott@pffwv.com>, Jayne Hudnall <jhudnall@pffwv.com>

     Jamie,

     Did you speak with your client? We need to get this done.

     Tyler

     On Wed, Sep 25, 2024 at 10:31 AM Stebbins, James C. <jstebbins@flahertylegal.com> wrote:
      I have not heard from my client yet and am in another mediation today. I will try to reach out again to him once we get
      situated.

       Jamie
       Sent from my iPhone


               On Sep 25, 2024, at 10:03 AM, Tyler Haslam <tyler@haslamlawfirm.com> wrote:



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               Jamie,

               Do you have any updates?

               Thanks.

               Tyler

               On Tue, Sep 24, 2024 at 11:07 AM Jayne Hudnall <jhudnall@pffwv.com> wrote:

                  Please copy Ben Vanston and Brittany Scott also, please.




                  From: Stebbins, James C. <jstebbins@flahertylegal.com>
                  Sent: Tuesday, September 24, 2024 10:43 AM
                  To: Tyler Haslam <tyler@haslamlawfirm.com>
                  Cc: Kerry Nessel <nessel@comcast.net>; Wendy E. Greve <wgreve@pffwv.com>; Jayne
                  Hudnall <jhudnall@pffwv.com>; Burdette, Danica N. <dburdette@flahertylegal.com>; Luke
                  Mathis <lmathis538@gmail.com>; Charlotte Dorsey <charlotte@haslamlawfirm.com>
                  Subject: [EXTERNAL] RE: Hudson v. Racer, et al.


                  Tyler:




https://mail.google.com/mail/u/0/?ik=c0c2d5b0ae&view=pt&search=all&permthid=thread-f:1809924636020587253%7Cmsg-a:r-6799462270790934278&simpl=ms…   1/9
9/26/24, 4:00 Case
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                                                                                                                                                                                                                                                                                                                                                                          Mail - Re: Hudson v. Racer, et2al.of 9 PageID #: 2233
                  I have reached out to my client to discuss the below but have not heard back from him yet.
                  I am in mediation today but gave him my cell phone so I am hoping he will call me today. I
                  will let you know when I hear from him.


                  Jamie



                  James C. Stebbins
                  Member




                  Flaherty
                  FLAHERTY SENSABAUGH BONASSO PLLC

                  P.O. BOX 3843

                  CHARLESTON, WV 25338

                  OVERNIGHT:

                  200 CAPITOL STREET

                  CHARLESTON, WV 25301

                  PHONE: 304.205.6388

                  FAX: 304.345.0260




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                  From: Tyler Haslam <tyler@haslamlawfirm.com>
                  Sent: Friday, September 20, 2024 3:35 PM
                  To: Stebbins, James C. <jstebbins@flahertylegal.com>
                  Cc: Kerry Nessel <nessel@comcast.net>; Wendy E. Greve <wgreve@pffwv.com>; Jayne
                  Hudnall <jhudnall@pffwv.com>; Burdette, Danica N. <dburdette@flahertylegal.com>; Luke
                  Mathis <lmathis538@gmail.com>; Charlotte Dorsey <charlotte@haslamlawfirm.com>
                  Subject: Re: Hudson v. Racer, et al.




                                                                     CAUTION: THIS EMAIL ORIGINATED FROM OUTSIDE THE ORGANIZATION.


                  Jamie,We agreed to a protective order and to use the Court's standard form during our Rule 26(f) meeting. That's specifically noted in the Report of Parties Planning Meeting [Dkt. 17] that I filed on 11/27/23. Had the internal affairs investigative file been produced prio ‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌




                  Jamie,



https://mail.google.com/mail/u/0/?ik=c0c2d5b0ae&view=pt&search=all&permthid=thread-f:1809924636020587253%7Cmsg-a:r-6799462270790934278&simpl=ms…                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              2/9
9/26/24, 4:00 Case
              PM   3:23-cv-00636            Document 134-15       Filed
                                                      Haslam Law Firm LLC 09/26/24          Page
                                                                          Mail - Re: Hudson v. Racer, et3al.of 9 PageID #: 2234
                  We agreed to a protective order and to use the Court's standard form during our Rule 26(f) meeting.
                  That's specifically noted in the Report of Parties Planning Meeting [Dkt. 17] that I filed on 11/27/23.
                  Had the internal affairs investigative file been produced prior to Racer's deposition, we would have
                  asked pointed questions about his orbital fracture and brain bleed. We had no reason to know that the
                  County was allowing Racer to work and to drive while medically compromised.



                  I appreciate the offer to answer written questions, but it will be faster and more effective (particularly
                  with the pending summary judgment deadline) to depose Racer a second time on the issues related to
                  his eye injury. By the time we send you questions and you meet with him and record his answers, we
                  can knock out a deposition. I don't anticipate that it will take more than an hour to an hour and half.
                  We have no problem driving to Dunbar and taking it at the police academy. I don't care to do it at any
                  hour of the night or day. If Racer can sit at 3 AM, I'll be there. I have the entirety of Tuesday,
                  Wednesday, Thursday, and Friday next week available.



                  Please let me know.



                  On Mon, Sep 16, 2024 at 8:46 AM Stebbins, James C. <jstebbins@flahertylegal.com> wrote:

                     Tyler:


                     It is not my desire to bother the Court with this matter either. Respectfully, you could
                     have asked Mr. Racer about his orbital fracture when you deposed him the first time and
                     the right questions were not asked. I don’t think that you ever proposed a protective
                     order at any time.


                     Nevertheless, as a compromise, I will offer to permit a deposition of Mr. Racer by written
                     questions under Rule 31 or I will have my client answer interrogatories targeted at the
                     issue(s) you describe and I will do what I can to get answers promptly and not take 30
                     days. Doing one of this things will allow you to get the discovery you want with the least
                     impact on his training.


                     Let me know if one of these options works for you.


                     Best,


                     Jamie



                     James C. Stebbins
                     Member




                     Flaherty
                     FLAHERTY SENSABAUGH BONASSO PLLC

https://mail.google.com/mail/u/0/?ik=c0c2d5b0ae&view=pt&search=all&permthid=thread-f:1809924636020587253%7Cmsg-a:r-6799462270790934278&simpl=ms…   3/9
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                     P.O. BOX 3843

                     CHARLESTON, WV 25338

                     OVERNIGHT:

                     200 CAPITOL STREET

                     CHARLESTON, WV 25301

                     PHONE: 304.205.6388

                     FAX: 304.345.0260



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                     From: Tyler Haslam <tyler@haslamlawfirm.com>
                     Sent: Friday, September 13, 2024 4:11 PM
                     To: Stebbins, James C. <jstebbins@flahertylegal.com>
                     Cc: Kerry Nessel <nessel@comcast.net>; Wendy E. Greve <wgreve@pffwv.com>; Jayne
                     Hudnall <jhudnall@pffwv.com>; Burdette, Danica N. <dburdette@flahertylegal.com>
                     Subject: Re: Hudson v. Racer, et al.




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                     Jamie,Racer can and should be deposed a second time, particularly as it relates to the newly discovered information about his orbital fracture and brain bleed.Further, we indicated at the Rule 26(f) conference that we were fine with all standard protective orders promulgated by t ‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌




                     Jamie,



                     Racer can and should be deposed a second time, particularly as it relates to the newly discovered
                     information about his orbital fracture and brain bleed.



                     Further, we indicated at the Rule 26(f) conference that we were fine with all standard protective
                     orders promulgated by the Southern District.



                     We are trying to resolve this without court intervention, and we would like to avoid the unnecessary
                     cost and delay associated with trying to compel his deposition through the court. Given the time
                     constraints placed on depositions by order this week, we will ask the Court to intervene Monday
                     morning if this issue cannot be resolved amicably between now and then.



                     Tyler



                     On Fri, Sep 13, 2024 at 4:00 PM Stebbins, James C. <jstebbins@flahertylegal.com> wrote:

https://mail.google.com/mail/u/0/?ik=c0c2d5b0ae&view=pt&search=all&permthid=thread-f:1809924636020587253%7Cmsg-a:r-6799462270790934278&simpl=ms…                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         4/9
9/26/24, 4:00 Case
              PM   3:23-cv-00636            Document 134-15       Filed
                                                      Haslam Law Firm LLC 09/26/24          Page
                                                                          Mail - Re: Hudson v. Racer, et5al.of 9 PageID #: 2236
                        Kerry:


                        I managed to talk to Mr. Racer today and he is not willing to be deposed voluntarily a
                        second time. He is not trying to be difficult but we think that the request is not fair or
                        reasonable for many reasons.


                        First of all, as you know, Mr. Racer was made available on July 2, 2024 starting at 9:00
                        in the morning and when Plaintiff decided to terminate his deposition at 2:15 p.m., that
                        was not because of any request by Mr. Racer or his counsel to stop and we would
                        have made him available for the remainder of the afternoon if necessary. We had no
                        discussion at that time that there was any reason to leave the deposition open.


                        Secondly, I do not think that it is fair to ask Mr. Racer to subject himself to another
                        deposition so that you can ask him questions about the KCSD investigation report.
                        You have known about the existence of that report since it was first disclosed by the
                        County Defendants in this case in their initial disclosures on July 2. 2024. The
                        disclosures by the County Defendants indicated that the report would be made
                        available to the other parties upon entry of a Protective Order and I do not believe that
                        Plaintiff ever submitted any proposed Protective Order to obtain those documents prior
                        to deciding to take Mr. Racer’s deposition.


                        I would also note that Mr. Haslam already asked Mr. Racer’s questions about that
                        investigation during his deposition.


                        I am also aware of case law holding that if a party chooses to prematurely take a
                        deposition before document discovery is complete, that is not an excuse for subjecting
                        a witness to a second deposition.


                        Third, the Rules clearly contemplate only 1 deposition per witness unless stipulated by
                        the parties.


                        Lastly, as you know, Mr. Racer is currently enrolled at the West Virginia State Police
                        Academy where he hopes to graduate on December 13, 2024. I understand that this
                        training is taxing both mentally and physically and I do not think that it is fair to ask him
                        to prepare for and undergo a deposition (especially a second deposition) while he is in
                        the middle of that training.


                        Based upon all of the above, I must respectfully decline your request. If you would like
                        to discuss this further, please give me a call.


                        Have a nice weekend everyone.


                        Best,


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9/26/24, 4:00 Case
              PM   3:23-cv-00636            Document 134-15       Filed
                                                      Haslam Law Firm LLC 09/26/24          Page
                                                                          Mail - Re: Hudson v. Racer, et6al.of 9 PageID #: 2237
                        Jamie



                        James C. Stebbins
                        Member




                        Flaherty
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                        OVERNIGHT:

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                        FAX: 304.345.0260




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                        From: Kerry Nessel <nessel@comcast.net>
                        Sent: Thursday, September 12, 2024 12:41 PM
                        To: Stebbins, James C. <jstebbins@flahertylegal.com>
                        Cc: Wendy E. Greve <wgreve@pffwv.com>; Jayne Hudnall <jhudnall@pffwv.com>;
                        tyler@haslamlawfirm.com; Burdette, Danica N. <dburdette@flahertylegal.com>
                        Subject: Re: Hudson v. Racer, et al.




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                        Thanks for thorough response.



                        Sent from my iPhone



                                On Sep 12, 2024, at 12:10 PM, Stebbins, James C. <jstebbins@flahertylegal.com>
                                wrote:

                                ﻿

                                Hi Kerry:


https://mail.google.com/mail/u/0/?ik=c0c2d5b0ae&view=pt&search=all&permthid=thread-f:1809924636020587253%7Cmsg-a:r-6799462270790934278&simpl=ms…   6/9
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              PM   3:23-cv-00636            Document 134-15       Filed
                                                      Haslam Law Firm LLC 09/26/24          Page
                                                                          Mail - Re: Hudson v. Racer, et7al.of 9 PageID #: 2238
                                I need to look at some things regarding this request and am under a
                                deadline in another matter today and I also want to try to reach out to my
                                client about it. I will give you a full response tomorrow even if I am unable
                                to reach him. I did not want you to think I was ignoring this request since
                                you asked for an answer ASAP.


                                Best,


                                Jamie



                                James C. Stebbins
                                Member




                                Flaherty
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                                P.O. BOX 3843

                                CHARLESTON, WV 25338

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                                PHONE: 304.205.6388

                                FAX: 304.345.0260




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                                From: KERRY NESSEL <nessel@comcast.net>
                                Sent: Wednesday, September 11, 2024 2:17 PM
                                To: Stebbins, James C. <jstebbins@flahertylegal.com>; Wendy E. Greve
                                <wgreve@pffwv.com>; Jayne Hudnall <jhudnall@pffwv.com>
                                Cc: tyler@haslamlawfirm.com
                                Subject: Hudson v. Racer, et al.




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                                     ORGANIZATION.




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9/26/24, 4:00 Case
              PM   3:23-cv-00636                                                                                                                                                     Document 134-15       Filed
                                                                                                                                                                                               Haslam Law Firm LLC 09/26/24          Page
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                                 Counsel, particularly Jamie, Tyler and I feel the need to redepose Racer due to the 700 + page internal affairs investigation, specifically Lt. Pile's interview with Racer and her conclusions. As the Court entered and order yesterday extending the deposition deadline to Sept 27 a ‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌




                                 ‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌




                                Counsel, particularly Jamie, Tyler and I feel the need to redepose Racer due to the
                                700 + page internal affairs investigation, specifically Lt. Pile's interview with Racer
                                and her conclusions.

                                As the Court entered and order yesterday extending the deposition deadline to Sept
                                27 and the recent disclosure, we believe our request is reasonable.

                                Please let me know ASAP.

                                Additionally, considering Racer had been brutally battered by no less than 5 men at
                                a bar and suffered significant physical injuries, including a brain bleed and broken
                                orbital bone on his left side, we request his medical records concerning the same.

                                Further, we are willing to travel to the WVSP academy to conduct this deposition.

                                Finally, please provide us dates for your availability to depose Lt. Pile. I assume this
                                will have to take place in Chas.

                                Thanks.

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                                                      Haslam Law Firm LLC 09/26/24          Page
                                                                          Mail - Re: Hudson v. Racer, et9al.of 9 PageID #: 2240



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